 17-10599-mkv       Doc 18-4      Filed 08/15/17 Entered 08/15/17 12:48:09           Affirmation
                                      of Service Pg 1 of 1

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK                              Chapter 11
————————————————————
In re:                                                     Case No. 17-10599 (MKV)
   729 PROSPECT REALTY SERVICE CORP.,
                                            Debtor.        AFFIRMATION OF SERVICE
————————————————————
        ALBERT H. BARKEY, the undersigned and an attorney duly admitted to practice law before
this Court, and affirms, certifies, and declares under 28 U.S.C. § 1746 that:
        1. I am not a party in the above-captioned case; I am over the age of 18 years; I reside in
Richmond County, New York; and I maintain my law office at 277 Broadway, Suite 408, NY, NY
10007.
        2. On August 14th 2017, I served by mail true copies of the annexed "NOTICE OF
MOTION SETTING BAR DATE UNDER BANKRUPTCY RULE 3003(e); APPLICATION;
PROPOSED ORDER; EXHIBIT "A" (NOTICE OF DEADLINE)": I enclosed each said copy
in a sealed postage-prepaid envelope and deposited it in an official depository under the exclusive
care and custody of the United States Postal Service within New York State; the envelopes were
addressed to the following entities respectively at their last known addresses as listed below:

       Office of the U.S. Trustee, SDNY            Also by email to: Andy.Velez-Rivera@usdoj.gov
       U.S. Federal Office Building                   on August 15, 2017
       Attn: Andrew Velez-Rivera, Esq.
       201 Varick Street, Suite 1006
       New York, NY 10014

       Phillips Lytle LLP                          Also by email to: nkaravolas@phillipslytle.com
       Attn: Nickolas Karavolas, Esq.                 on August 15, 2017
       340 Madison Avenue, 17th Floor
       New York, NY 10173-1922

       NYC Law Department                          Also by email to: gcacuci@law.nyc.gov
       Attn: Gabriela P. Cacuci, Esq.                 on August 15, 2017
       Tax & Bankruptcy Litigation Division
       100 Church Street, Room 5-223
       New York, NY 10007

I declare under penalty of perjury that the foregoing is true and correct.

Executed on August 15, 2017

                                                   /s/ Albert H. Barkey

                                                   Albert H. Barkey
                                                   277 Broadway, Suite 408
                                                   New York, NY 10007
                                                   (646) 410-1818
